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                                                                                        19AT9,C.rAtli
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                            IN THE UNITED STATES DISTRICT COURT~                           MAY 112005
                           FOR THE NORTHEN DISTRICT OF GEORGIA                          l,UT*P4 MAS,
      2
                                     ATLANTA DIVISION                                                 erk
      3                                                                                 BY~       p

      4
       I TONY L. WARE, CEO and
      5 T. L. WARE BOTTLING CO ., INC .,             }

      6
                         Plaintiffs,
      7           V sr                                 CIVIL ACTION FILE NUMBER :
                                                     } 1 : 05 - CV - 0426 - MHS
      8
           FLEETBOSTON FINANCIAL CORP .
      9    FIKIA BANKBOSTON CORP.                         REVISED MOTION TO REMAND

    10
                         Defendant. )MEMORANDUM OF LAW IN SUPPORT
    11
                 REVISED MOTION TO DISMISS AND REMAND CASE
    12
                  COMES NOW, TONY L. WARE, CEO and T. L. WARE BOTTLING
    13
           COMPANY , INC., the Plaintiffs and files their Revised Motion to Remand Case
    'I 4
           pursuant to the Federal Rules of Civil Procedures , Rule 12(h)(3) against the
    15
           above-named Defendant FLEETBOSTON FINANCIAL CORPORATION . The
    16
           Court must remand on Plaintiffs' motion pursuant to 28 U .S.C . § 't447(c) this civil
    17
           action back to the Superior Court of Fulton County on the following grounds to wit :
    18                        1 . DEFECTS IN THE REMOVAL PROCESS
    19            1 . The Court is required to remand this civil matter because the Notice of
    20     Removal is legally insufficient as it is untimely under 28 U . S.C. §1446(b) filed 34 days
           late after both FleetBostons corporations were served with the initial Summons and
    21
           Compla int on December 10 th, 2004. The Court must remand this case back to the
    22
           Superior Court of Fulton County because the Notice of Removal is untimely .
    23            2 . That FleetBoston Financial Corporation f/k/a BankBoston Corporation a
    24 I Rhode Island corporation was the only named Defendant in this action and not

    25     FleetBoston Financial Corporation a Delaware corporation . There are two




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1    FleetBoston Financial Corporation . One corporation is a "Place Holder Corporation"
     or "Shell or Dummy" corporation used by the above named Defendant to mislead the
2
     Plaintiff, the Court and the general public and the other is a holding company merged
3
     with Bank of America . However, both corporations were properly served with
4    Summons and Complaint through the Georgia Secretary of State on December 10th,
 5   2004 because both corporations had withdrawn from doing business in this State
     which legally appointed the Georgia Secretary of State to be their agent for all service
 6
     of process . Only Defendant FleetBoston Financial Corporation f/k/a BankBoston
 7
     Corporation a Rhode Island corporation had the right to remove this case as a matter
 8
     of law . FleetBoston Financial Corporation of Delaware needed FleetBoston Financial
 9   Corporation f/k/a BankBoston Corporation of Rhode Island's consent prior to the

10   removal of the Plaintiffs' case under the unanimity rule set by the Court of Appeals for
     the Eleventh Circuit . See, In re Bethsda Mem'I Hosp ., Inc ., 123 F.3d 1407, 1410
11
     n.2 ( 1 1t", Cir 1997) ("The failure to join all defendants in the petition is a defect in the
12
     removal procedure") .
13          3 . FleetBoston Financial Corporation f/k/a BankBoston Corporation of Rhode
14   Island and FleetBoston Financial Corporation of Delaware both waived their legal
     rights to remove this action when they appointed the Georgia Secretary of State to be
15
     their agent for service of process and submitted to the jurisdiction of the State Court .
16
             I i. THE COURT LACKS SUBJECT MATTER JURISDICTION
17
            4 . The Court lacks subject matter jurisdiction over this civil matter because it
18
     lacks original jurisdiction over Federal RICO . Although Federal RICO claims may be
19   within the Court's jurisdiction . All state Courts have RICO statutes which

20   incorporates the Federal RICO statute . The State Courts in this manner enjoys
     concurrent jurisdiction with District Courts over Federal RICO claims . This Court
21
     does not have removal subject matter jurisdiction over Federal RICO claims under 18
22
     U.S .C . 1961 even though Federal RICO may raise a federal question under 28
23   U.S .C . §'133'! . See, Cogdell v. Wyeth, 366 F .3d 1245, 1247 (11th, Cir 2004) .1
24

25           1 Thus COpdE!! Supra held that {"Thus, one prerequisite for removal jurisdiction is that the
     case originated in the state court . Another is that the defendant remove the case to the proper federal



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 1            5 . The Court lacks subject matter jurisdiction over this civil matter under 28
      U .S.C . § 1332(a)(1) because the Plaintiffs, Defendant FleetBoston Financial
 2
      Corporation f/k/a BankBoston Corporation and FleetBoston Financial Corporation of
 3
      Delaware are not diverse in this action and all are citizens of the State of Georgia .
 4    The FleetBostons are both deemed citizens of this State pursuant to 28 U .S.C. §
 5    1332(c)(1) which reads as follows :

 6                           " (c) For the purposes of this section and section
                       1441 of this title - (1) a corporation shall be deemed to
 7                     be a citizen of any State by which it has been
                       incorporated and of the State where it has its principal
 8                     place of business . . ."

 9            Its clear from the holding in Louisville & NRR v. Meredith, 66 Ga. App. 488,

10    18 SE2d 51 (1941) that FleetBoston of Rhode Island and FleetBoston of Delaware by
      filing their applications for a Certificate of Authority with the Georgia Secretary of
11
      State's they had a "principal place of business" in Georgia before it withdrew from
12
      doing business in this State . Therefore, the Fleet B ostons were legal citizens of
13    Georgia pursuant to 28 U .S .C . § 1332(c)(1) and are not diverse in this civil action .
14    The Court lack diversity subject matter jurisdiction under 28 U .S.C . § 1332(a){1) .

'15           6. The Court lacks subject matter jurisdict ion over this civ il matter because the
      Noti ce of Appeal to the Supreme Court o f Georgia made the Notice of Removal moot
16
      as a matter of law . Plaintiff Tony L . Ware was appealing the final judgment and all
17
      orders issued in this action . Mr . Ware's appeal was subject to review by the Georgia
18    Supreme Court . Thus, the right of remove this action was no longer a live issue .

19    Because FleetBoston Financial Corporation of Delaware is a dissolved corporation it
      lacks a legally cognizable interest in the outcome of this civil action . FleetBoston's
20
      attorneys knew that such Notice of Appeal vests the Georgia Supreme Court with
21
      subject matter jurisdiction over Plaintiff's appeal pursuant to O .C .G .A. § 5-6-47(a)
22    prior to its improper removal . Therefore this Court lacks subject matter jurisdiction on
23    moot questions and to remove appellate jurisdiction from the Georgia Supreme

24

251   district court . A third is that the federal district court have original jurisdiction to entertain the law suit .
      If any one of these prerequisites is lacking, the district court can be said to lack removal jurisdiction"} .



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 1   Court . See, Westmoreland v. National Transportation Safety Board, 833 F. 2d
     1461, 1462 ( 11 t", Cir 1987) . Furthermore, FleetBoston of Delaware also lacks
 2
     standing to remove Plaintiffs' civil act i on under O.C.G . A . § 14-2-1401 .
 3
             7 . That FleetBoston Financial Corporation of Delaware lacks legal standing as
 4   a dissolved corporation and is barred under Georgia Law from bringing or
 5   maintaining any removal proceeding as a dissolved corporation without having first

 6   obtained new a Certificate of Authority from the Georgia Secretary of State pursuant
     to O.C .G.A. § 14-2-15Q2(a) . Thus, the right to remove this action was no longer a
 7
     live issue because FleetBoston Financial Corporation of Delaware is a dissolved
 8
     corporation and lacks a legally cognizable interest in the outcome of Plaintiffs' case
 9   and removal is moot.
10           WHEREFORE, The Plaintiffs hereby prays and demands that this Court

71   enter a FINAL ORDER dismissing Defendant's claims for lack of subject matter
     jurisdiction 2 and remand this civil action back to the Superior Court of Fulton County
1Z
     and the Georgia Supreme Court so that the Plaintiffs in this matter can protect their
13
     legal rights as a matter of law . The Plaintiffs request any further relief deemed proper
14   and just by the Court : Plaintiff's Attorney request all attorney fees and Costs .
15            This          Alt IV           day of         ZU6i       12005.
                                                              I
16   Res pectfully Submitted By:                             Respectfully Submitted By:

17            •                                                    -                   ~''




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23

24
             2 In Westmoreland v. National Transportation Safety Board, 833 F .2d 1461,1462 (11 " , Cir
25   1987) district courts lacks subject matter jurisdiction on moot issues . Mootness is jurisdictional . See
     also Murphy v. Hunt, 455 US . 478, 102 S .Ct . 1181, 71 L .Ed .2d 353 (1982) .



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